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  IT IS ORDERED as set forth below:



  Date: August 9, 2022
                                                          _____________________________________
                                                                     Lisa Ritchey Craig
                                                                U.S. Bankruptcy Court Judge

 _______________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                          :          CASE NO. 18-68507-LRC
                                                :
DONALD RENALDO WHITING, III,                    :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :


  ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                PROFESSIONALS OF THE TRUSTEE

         On June 10, 2022, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Donald

Renaldo Whiting, III, filed applications for payment of compensation in the amount of $7,250.00

and expenses in the amount of $71.50 to the Chapter 7 Trustee [Doc. No. 90-1], compensation in

the amount of $3,500.00 and expenses in the amount of $387.70 to Arnall Golden Gregory LLP,

the Chapter 7 Trustee’s counsel [Doc. No. 90-2], and compensation in the amount of $1,770.00




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and expenses in the amount of $80.83 to Hays Financial Consulting, LLC, the Chapter 7

Trustee’s accountants [Doc. No. 90-3] (collectively, the “Fee Applications”).

        Also on June 10, 2022, Trustee filed his Trustee’s Final Report (TFR) [Doc. No. 90] (the

“Trustee’s Final Report”) in which he proposed to make certain distributions to creditors,

including the above mentioned professionals.

        On June 13, 2022, Trustee filed two notices [Doc. Nos. 91 and 92] (collectively, the

“Notices”) regarding the Fee Applications and Trustee’s Final Report, in accordance with the

Second Amended and Restated General Order No. 24-2018 and setting the Fee Applications and

Trustee’s Final Report for hearing on August 11, 2022 (the “Hearing”).

        Trustee certifies that he served the Notices on all creditors and parties in interest entitled

to notice. [Doc. No. 93].

        No objection to the relief requested in the Fee Applications or Trustee’s Final Report was

filed prior to the objection deadline provided in the Notices and pursuant to the Second Amended

and Restated General Order No. 24-2018.

        The Court having considered the Fee Applications and Trustee’s Final Report along with

all other matters of record, including the lack of objection to the relief requested in the Fee

Applications and Trustee’s Final Report, and, based on the forgoing, finding that no further

notice or hearing is necessary; and, the Court having found that good cause exists to grant the

relief requested in the Fee Applications and Trustee’s Final Report, it is hereby

         ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further

        ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:




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                Applicant                 Docket      Fees       Expenses          Total
                                           No.
 S. Gregory Hays, Chapter 7 Trustee        90-1      $7,250.00      $71.50          $7,321.50
 Arnall Golden Gregory LLP,                90-2      $3,500.00     $387.70          $3,887.70
 attorneys for Chapter 7 Trustee
 Hays Financial Consulting, LLC,           90-3      $1,770.00      $80.83          $1,850.83
 accountants for Chapter 7 Trustee

It is further

        ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as expressly set forth

in Trustee’s Final Report.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
       Michael J. Bargar
       Georgia Bar No. 645709
       michael.bargar@agg.com
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Atlanta, GA 30363 / (404) 873-8500

Identification of parties to be served:

Office of the U.S. Trustee, 362 Richard B. Russell Federal Building, 75 Ted Turner Drive, SW,
Atlanta, GA 30303

Donald Renaldo Whiting, III, 1162 Lehavre Court, Hampton, GA 30228

E. L. Clark, Clark & Washington, LLC, Bldg. 3, 3300 Northeast Expwy., Atlanta, GA 30341

S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555, Atlanta,
GA 30305

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
30363



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